                      THE UNITED STATE BANKRUPTCY COURT
                          NORTHERN DISTRICT OF OHIO



N RE:                                                        CHAPTER 1 3

                                                             CASENO. 16-50171
JEFFREY ALLEN TIMMS
HEATHER MARIE TIMMS
                                                             JUDGE ALAN M. KOSCHIK

                                                             MOTION TO SUSPEND PLAN
                                                             PAYMENTS OR TEMPORARY
                                                             REDUCE PLAN PAYMENTS



        Now comes the Debtor(s), by and through undersigned counsel, and hereby moves this

Court, PurSuant to l l USC Section 1326, for pemission to:



Non-Conduit MortfIage ChaDter 13 Plan


               Suspend all plan payments for the following number of days弓塑

               days to begin on the date that the Court approves an order to suspend plan
               PaymentS. The Debtor(S)’s plan does not provide for conduit mortgage payments
               as de丘ned in Administrative Order 1 6-OL



Conduit Mortgage ChaDter 13 Plan


               Reduce plan payments to (amount of reduced payment) for the following nunber
               Of days: (insert number) days to begin on the date that the Court approves an
               Order to reduce plan payments. The Debtor(S)’s plan provides for conduit
               mortgage payments as defined in Administrative Order 1 6-01.


               Note: Plan pcty,men応S'hall not be lowered to an amount which willprohibit the
               丑usteef・Om making the monthb) COnduit p(ymentS unless the mortgage lendGr

               is given notice pursuant to Ban加ptウノProce(九ral Rule 3015.


           DebtorshaveextraordinaryvehiclerepalrSandchildren’sneedsinanticipation


           OftheupcommgSChoolyear.




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        This pay suspension will not reduce the anount that the Debtor(S) is obligated to pay

Creditors under the confirmed Chapter 1 3 plan.

        During the pay suspension period, SeCured creditors which have制ed and been allowed


interest on their claim shall continue to receive said interest. During the pay suspension period,

interest will continue to accrue on the secured claims which have requested interest.

        The Debtor(S) understand the periods ofpayment suspension do not waive the

requlrement tO make the required monthly payments for the applicable commitment period. The

Pay SuSPenSion period shall be added to the time the Debtor(S) is/are in the Chapter 13 case.
        The Chapter 13 Trustee shall be authorized to retum funds received in excess ofthe

mon皿y plan payment authorized by this motion directly to the Debtor(s). The Debtor(S) shall

not be required to make a separate application for these funds.



        WHEREFORE, the Debtor(s) respect餌1y requests the change in their Chapter 13 plan


PaymentS aS detailed herein.


/s/ Je餓・eV A. Tirrus                          Respectfully submitted,
   Je紐ey A. Timms


/s/ Heather M. Timms
   Heather M. Timms                           /s/ Donald P. Mitchell. Jr.
                                              Donald P. Mitchell Jr., #0016178
                                              Attomey for Debtors
                                              3766 Fishcreek Rd., #267
                                              Stow, O血o 44224

                                              (330) 297-7788
                                              bankruptcyfiles@wmcomect.com

                                              NOTICE

        Pursuant to LBR 9013-3 Notice is hereby given that any response or objection must
be鮒ed within twenty-One (21) days, Or SuCh other time as specified by app獲icabIe FederaI
Rule ofBankruptcy Procedure or statute or as the Court may order, from the date ofservice
as set forth on the Certificate of Service, if relief sought is opposed, and that the Court is
authorized to grant the relief requested without further notice unless a timeIy objection is
縦量ed.




                               NOTICE OF DEBTOR)S MOTION

        The Debtor(S) hasthave filed papers with血e Court to Suspend Payment(S), a COPy Ofwhich
is attached.




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       Your ri容hts mav be a鱒もcted. You should read these papers carefully and discuss them
With your attomey, ifyou have one in this bankruptcy case. afyou do not have an attomey,
you may wish to consult one.)


       Ifyou do not want the Court to grant requested motion, Or ifyou want the court to
COnSider your views on the Motion then on or before twentv-One (21) davs. or such other time
範xed by the Federal Rules of Bankruptcy Procedure or statute or as the Court may order,
a請er service is鮒ed and serve a response or request for hearing. Ifno response or request

for hearing is timely filed with the Court and served upon counsel fbr the movant, the Court
may grant the relief requested in the motion without a hearing・



       If you do not want the Court to grant the Motion without a hearing, Or ifyou want the
Court to consider your views on the objection, then on or before August 21, 2017, yOu Or yOur
attomey must :


       File with the Court a written objection or response to:
                          Clerk, United States Bankruptcy Court
                                 Northerm District of Ohio
                                    455 Federal Building
                                       2 South Main Street
                                       Akron, Ohio 44308

       If you mail your objection to血e Court for filing, yOu must mail it early enough so the

Court will receive it on or before the date stated above:


You must also mail a copy to:

                 Keith Rucinski, Trustee              Donald. P. Mitche11, Jr.
                 One Cascade Plaza #2020              3766 Fishcreek Rd., #267.
                 A血on, OH 44308                       Stow, Ohio 44224

Ifyou or your attomey do not take these steps, the court may decide that you do not oppose the
relief sough in the motion or objection and may enter an order granting that reliefwithout
holding a hearing.


                                      /s/ Donald P. Mitchell Jr.
                                         Donald P. Mitchell, Jr.



                                 CERTIFICATE OF SERVICE

The undersigned certi魚es that on August l, 2017 that a copy ofDebtors’Motion to Suspend was
Served, PurSuant tO Rule 9013-3 as follows:
       Via the Court-s Electronic Case FiIing System on these parties and individuals who
are listed on the Court-s Electronic Mail Notice List:

Keith Rucinski
e創in寝sのch1 3akron.com, kmcinski(命ecf.epiqsvstems.com




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Donald P Mitchell, Jr on behalf of Debtors Je餓℃y & Candace Thomas
bahkruDtCVfiles⑦wmcormect. com




Americredit Financial dba GM Financial (by US Mail)
PO Box 183853
Arlington, TX 76096

All creditors on血e attached Court Matrix by regular US Mail



Jeffrey & Heather Timms (US Mail)
3758 Kent Road
Stow, OH 44224

                                          /s/ Donald P. Mitchell. Jr.
                                          Donald P. Mtchell Jr., #0016178




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                                    ncrs_addresses (5)
Case Number: 16-56171-amk


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16-与6171-amk Akron l455 U.S. Courthousel2 South Main StreetlAkron, OH 443O8-1813I‖
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16-与6171-a間k   BFG Federal Credit Union   445 S. Main St   Akron, OH 44311-1068
16一与9171-amk   Buckeye Lending CheckSmart i696 Howe Ave    Cuyahoga Falls, OH
44221-与1う7 l
16-う6171-amk   CBSC, Inc. lPO Box 2818lNorth Canton, OH 44726-6818
16-ら6171-amk   Capital One   PO Box 30281iSalt Lake City, UT 8413O置O281
16-与9171-amk   Cashnet USA   175 West JacksonIste. 1060lchicago, IL 60604-2863= l
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16-う6171-amk   City of Stow∴Water Dept. l3769 Darrow Rd.Istow, OH 44224-4O∋81 11l
16-与6171-amk   Cooke-Demers, LLC IPO Box 714 New Albany, OH 43654-6714
16-う6171-amk   Credit One Bank lpo Box 98872 Las Vegas, NV 89193-8872l
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16葛与6171-amk   JP Recovery l2922 Center Ridge Rd. ♯ 379iRocky River, OH 44116-3561I

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16-う6171-amk   Porania LLC Ip. o. Box l14O5iMemphis TN 38111-O4051川
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2lBuffalo, NY 14228-23111 =
16-与6171-amk   Robinson Memorial Hospital l6847 N. Chestnut St.lRavema, OH
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16-56171-amklDonald P. Mitchell JriLaw Office Of Don Mitchelll3766 Fishcreek
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16-50171-amkiHeather Marie Timms l3758 Kent Roadlstow, OH 44224-46501 1 =
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